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                       IN TH E UNITED STATES DISTRICT CO URT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                                 CaseNo.12-cv-24318-KM M

 W i-LAN USA,INC.and W i-LAN,IN C.

        Plaintiffs,

 VS.

 A PPLE lN C .,

        Defendant.
                                                   /

         ORDER GRANTING DEFENDANT'S M O TION TO TRANSFER VENUE


        THIS CAUSE came before the Courtupon Defendant's Renewed M otion to Transfer

 Venueto theUnited StatesDistrictCourtfortheSouthern DistrictofCalifomia(ECF No.39).
 Plaintiffsfiled aM emorandum in Opposition (ECF No.49)and Defendantfiled a Reply (ECF
 No.53). The M otion isnow ripe forreview. UPON CONSIDERATION ofthe M otion,the
  Response and Reply,the pertinentportionsofthe Record,and being otherwise fully advised in

 theprem ises,thisCourtentersthefollowing Order.
  1.     BA C K G R O U ND 1

         In December2012 W i-LAN filed suitagainstApple forpatentinfringem entconcerning

  U.S.PatentNos.8,315,640 and 8,311,040. The patentsrelate tçto the m ethodsand system sfor

  transm ission of multiple m odulated signals over wireless networks,and packing solzrce data

  packetsinto transporting packets with fragm entation.'' M em .in Opp.,at 2. W i-LAN hastwo

  related actionspending in thisCourt,one filed againstHTC Corporation and HTC America,and


  1Thefactsherein aretakenfrom Defendant'sRenewedM otiontoTransferVenue(ECFNo.39);
  Plaintiffs'M emorandtlm inOpposition(ECF No.49);andDefendant'sReply(ECFNo.53).
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 the other filed againstSierra W ireless Am erica,Inc. These actions concern the sam e patents

 with similarallegationsofinfringem ent.

        W i-LAN ,Inc.is a corporation in the intellectualproperty developm ent and licensing

 industry headquartered in Ottawa,Ontario. W i-LAN USA ,a wholly owned indirectsubsidiary

 of W i-LAN,is a Florida corporation with itsU .S.headquarters in M iami. W i-LAN USA wms

 incom orated in Florida in December2011. DefendantApple isbased in Cupertino,Califonzia,

 in the Northern Districtof California. Apple has retaillocations in the Southern Districtof

 Florida. Qualcomm,a developeroftechnology implicated in these patents,is based in San
 Diego,California,in the Southern DistrictofCalifom ia.

 Il.    LEGAL STANDARD

        Title 28 U.S.C. j 1404(a) provides that çtlfjor the convenience of the parties and
 witnesses,in the interestsofjustice,a districtcourtmay transferany civilaction to any other
 districtordivision where itmighthave been broughtorto any districtordivision to which all

 partieshaveconsented.''28U.S.C,j1404(a).
        Thestandard fortransferunderj 1404(a)givesbroaddiscretion to thetrialcourqand a
 trial court's decision will be overturned only for abuse of discretion. M ason v.Sm ithkline

  Beechnm ClinicalLabs., 146 F.Supp.2d 1355,1358 (S.D.Fla.2001). Congress authorized

  courtsto transferthevenueofa casein orderto avoid Ilnnecessary inconvenience to thelitigants,

  witnesses,andthepublic,andtoconservetime,energy,andmoney.Seett.
                                                                kat1359.
         Thequestion ofwhethertotransfervenueinvolvesatwo-prongedinquiry.J.
                                                                          Z Thefirst
  prong holdsthatthe altenmtive venue ççmustbe one in which the action could originally have

  been broughtby the plainéff'' Id. The second prong involves an element-by-elementanalysis.
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 ItrequiresCourtsto çibalance private and public factors ...''to determ ine whethertransfer is

 justified.ld.
 111.   DISCUSSION
        The above-styled action could have been filed in the Southem District of California.

 Appleissubjecttopersonaljmisdiction in S.D.Cal.becausettitoffersforsaleorsellsaccused
 productsin thatdistrict,and therefore has suftk ientcontactsto establish jurisdiction there.''
 M ot.to Trans.,at6. Therefore,transferispermissible provided thattransferisjustified as
 evinced by an analysisofpublic andprivatefactors.

        In M anuelv.ConvercysCom .,430 F.3d 1132 (111 Cir.2005),the Eleventh Circuit
 listed a numberofpublicand privatefactorsrelevantto determine whethertransferisjustified
 tmderj 1404(a).Thesefactorsinclude:
            (1)the convenience ofthe witnesses;(2)the location ofrelevantdoclzments
            andtherelative easeofaccesstosourcesofproof;(3)theconvenienceofthe
            parties;(4) the locus of operative facts;(5) the availability of process to
            compelthe attendance ofunwilling witnesses;(6)therelative meansofthe
            parties;(7) a forum's familiarity with the governing law; (8) the weight
            accordedaplaintiff'schoiceofforum;and(9)trialefficiencyandtheinterests
            ofjustice,basedonthetotalityofthecircumstances.
  ld.at1135 n.1.No singlefactorisdispositive,and courtshavediffered in theweightafforded to

  each individualfactor.CompareCellularvision Tech.& Telecomm s..L.P.v.AlltelCop .,508F.

  Supp.2d 1186,1189 (S.D.Fla.2007) (evaluating six factors)with NISSM Cop .v.Time
  W arner.lnc.,No.07-CV-20624,2008 W L 540758,at*2 (S.D.Fla.Feb.25,2008)(evaluating
  seven factors). Asseveralfactorsostensibly overlap with oneanother,thisCourtwillstriveto
  analyzeeach factorin a mAnnermosttailored to the instantdispute.
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                               1.TheConvenienceofthe W itnesses

         Apple contends that çthe majority of non-pady witnesses are located much more
 conveniently to SD Ca1than SD Fla.''M ot.to Trans.,at8. Thisincludeswitnessesconnected to

 çtthird party chipmaker Qualcomm . . .the supplier of the accused technology                  Id.
 ttAdditionally, at least three of the six inventors of the patents-in-suit and the attorney that

 prosecuted thepatentsin suithave residencesin SD Cal....'' Id.

        W i-LAN pointsoutthata num berofthe inventors live outside the S.D.Cal.,in Texas,

 M assachusetts,Israeland China. M em .in Opp.,at13-14. Forthese witnesses,W i-LAN argues,

 San Diego isnotmoreconvenientthan M inmi. Id.at14. W i-LAN also disputestherelevanceof

 thelocation ofQualcomm'sheadquarterstothislitigation. Id. W i-LAN pointsoutthatApple,
 notQualcomm,manufacturesthe products,Applehasnotidentified key Qualcomm witnesses
 locatedin S.D.Cal.andthatinaddition Qualcomm hasofficesacrossthecountry.1d.
          This Courtmay consider the advantages of the transferee region as a whole and the

 analysisisnotlimited to the literalboundariesofthetransferee forum . See In re TS Tech USA

  Com .,551F.3d 1315,1321(Fed.Cir.2008)(considering theavailability ofevidencenearthe
  transfereedistrict,notjustinthedistrictitselg.SeealsoComst-to-comstStores.lnc.v.W omack-
  Bowers. Inc.,594 F. Supp. 731,734 (D.M inn. 1984)(ç1(T)he Arkansas venue would be
  considerably superiorto M innesota ...(aslltlhe greatestnumberofwitnesses in this action
  residein Arkansas. Further,those witnesseswho do notlivein M innesotaresidein stateswhich

  areconsiderablyclosertoArkansas...'').
         Here,some potentialwitnessesin thiscaseresidein Califom ia,eitherinside oroutsideof

  S.D. Cal. A number of other witnesses are dispersed across the country and the world.
  H ow ever, no potential w itnesses are located in S.D . F1a., the State of Florida, or the greater



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 southern region. Given this dispmity,holding thislitigation in California generally and in S.D.

 Cal.more specitk ally would be moreconvenientforthe witnessesthan holding thislitigation in

 Florida.Therefore,thisfactorfavorstransferringtheaction.

                             2. The Location ofRelevantD octzm ents

        Apple argues that S.D.Cal.t%is closer to the som ce of relevant doclzm ents.'' M ot.to

 Trans., at 7. W i-LAN points out that tçApple will pres'lmably produce its documents

 electronically in thiscase,and itwillbeno m ore burdensome foritto do so ifthecaseremainsin

 Florida.'' M em.in Opp.,11. Applecontendsthatûidiscovery in thiscase willinevitably require

 the production ofsource code ...and for sectlrity reasons ...such evidence mustbe physically

 transported and viewed on specialcom puterterm inals.'' Reply,at10.

         ltislikely thatthe bulk ofthe doctlmentproduction willbe electronic. 4fln a world with

 fax machines,copy machines,email,ovem ightshipping,and mobile phonesthatcan scan and

 send documents,the physical location of documents is irrelevant.'' M icrospherix LLC v.

 Biocompatibles.lnc..CaseNo.11-CV-80813,2012 W L 243764,at*3 (S.D.Fla.Jan.25,2012).
 ççln lightofthe bm den a party m oving fortransferbears,absenta showing by the m oving party

 to thecontrary,thisCourtconsiders the location ofrelevantdocllments and therelative ease of

  access to sources ofproofa non-facton'' 1d. In the absence ofmore specific indications that

  considerable docum entproduction willtake place on com puterterminalsand notelectronically,

  the location ofthe relevantdocum ents does not favor either geographic location. This Court

  therefore determ inesthis factorto be neutral.

                                   3. Convenience to the Parties

          Apple contends that S.D.Cal.is the m ore convenientfortzm for Apple,as Apple is

  headquartered in Northern California and the evidence and doclzm ents in this matter willbe
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 located in eitherS.D .Cal.orgenerally in the State ofCalifom ia. M ot.to Trans.,at6-7. Apple

 furthercontendsthatthatno witnessesordocumentsarepresentin S.D .Fla.and thatW i-LAN 'S

 officers and directors are located in Canada and notFlorida. J.
                                                               1
                                                               J.
                                                                ,at7. W i-LAN disagrees,
 indicatingthat<çApple'salleged burden oflitigating in Floridawould beequally feltby W i-LAN

 ifitwere forced to litigate in Califonzia ....'' M em .in Opp.,at12. ThisCourtûndsthatwhile it

 would be substantially more diftk ultforApple to litigate in M inmiasopposed to San Diego,it

 would notbe substantially m ore difticultfor W i-LAN to litigate in San Diego ms opposed to

 M iami. W i-LAN has very few roots in Florida com pared to Apple's strong roots in California.

 Therefore,thisfactorfavorstransfer.

                                4.The LocusofOperativeFacts

        ç$t(W lhere the operative factsunderlying the cause ofaction did notocclzrwithin the
 forum chosen by the Plaintiff,the choice offorum isentitled to lessconsideration.''' M otorola

 M obilitv.Inc.v.Microsoft Corp.,804 F.Supp.2d 1271, 1276 (S.D.Fla.20l1) (quoting
 W indmere Com .v.Reminzton Prods.mInc.,617 F.Supp.8,10 (S.
                                                          D.Fla.1985:. Here,Apple
 contends that ltthe center of gravity of the accused activity is located in SD Cal,where the

 research,design,m arketing,and salesdecisionsrelated to the accused productsand technology

 occurred.'' M ot.to Trans.,at9. W i-LAN contends thatthe reseazch,design and developm ent

 took place in Cupertino,notSan Diego. M em .in Opp.,at 12. W i-LAN also pointsoutthatthe

 accused instrum entalities in this instance are the Apple products,notthe componentproducts,

 anditisthereforeirrelevantthatQualcomm isbasedinSanDiego.ld.at13.
         W hetherin San Diego orCupertino,itisapparentthatthe operative factsatissue in this

  litigation took place nearly entirely in California. W i-LAN cannotpointto any activity in this

  case thattook place in Florida. W hile there is som e distance between N orthern and Southern
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 California, these locations are much closer to each other than Florida is to anywhere in

 California. Therefore,thisfactorweighsin favoroftransfer.

                                  5.Availability ofProcess
       Apple contendsthattheunderlying technology atissue in thismatterismmmfactured by

 athird party,Qualcomm,and thatthistechnology isincorporatedinto Appleproducts. M ot.to
 Trans.,at9. fçoualcomm willlikely supply theprimarytechnicalwitnessesthatwilltestify at
 trial.''J.
          Z S.D.Cal.can compelQualcomm witnessestoappeartotestifywhileS.D.Fla.cannot.
 See Ld-a ln addition,S.D.Cal.hassubpoenapowerovertheprosecuting attorney and multiple
 inventorswhileSCSD F1ahassubpoenapowerovernoneofthenon-partywitnesses.''J#a.at9-10.
        W i-LAN arguesthatçtApple hasnotpresented any evidencethatthewitnesseslocated in

 Californiaare actually unwilling to travelto Florida to testify''orthattheirtestimony cannotbe

 offered through deposition testimony. Mem .in Opp.,at 11-12. Eçlclourts generally transfer
 cases when im portant witnesses can not be compelled to testify in the forum ,but could be

 subpoenaed in thetransferee court.'' Comm ercialSolventsCorp.v.Liberty M ut.Ins.Co.,371F.

  Supp.247,250 (S.D.N.Y.1974). Here,S.D.Cal.isthe preferable venue forthe exercise of
  subpoenapoweroverthird partyw itnesses. Therefore,thisfactorfavorstransfer.

                                 TheRelativeM eansoftheParties

        Both partiesin thisinstance arelargecorporate entities.Therefore,thisfactorisneutral.

                               7.A Forum 'sFnmiliarity with the Govem ing Law

        Patentcasesaregovernedby federallaw andboth districtsarefam iliarwith federal

  patentlaw . This factorisneutral.




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                      8.TheW eightAccorded Plaintiffs'ChoiceofForum
        ttç-rheplaintiffs choice offorum should notbe disturbed unless itisclearly outweighed

 byotherconsiderations.'''Robinsonv.Ginrmarco& BillsP.C.,74F.3d253,260(11thCir.1996)
 (quoting Howell v.Tanner,650 F.2d 610,616 (5th Cir.Unit B 1981:. However,less
 consideration isdue when the operative factsdid notoccurin Plaintiffs choice offorum . See

 M ason,146 F.Supp.2d at 1360. N one ofthe operative factsin thisinstnnce occurred in S.D.

 Fla. Rather,the operative facts occurred in California,although notnecessarily in S.D.Cal.

 M ot.to Trans.,at 11.

        Apple also contendsFlorida isnotactually W i-LAN USA'Shome forum . M ot.to Trans.,

 at 10-11. W i-LAN,the parent company of W i-LAN USA,is based in Canada and W i-LAN

 USA'Sççpresencein Florida appearsto be simply an artifactoflitigation.'' 1d.at 11(citations
 omitted). W i-LAN admitsthatitsdecision-making to base itselfin Florida took into accotmt
 çsfederaldistrictcourtsthatareknowledgeableconcerningpatentm atters,pm icipate in the patent

 pilotprogram,and maintain an expedited docketcompared to otherjtlrisdictions.'' M em.in
 Opp.,at7.W i-LAN'SonlyFloridaemployeeisapatentattorney.JZ at4,8.AsW i-LAN USA
 ltappears to have been created solely forthe purpose offiling cases in the Southern Districtof

  Florida''there is çsless than persuasive reason to deny transfer .      W i-l-,an USA.lnc.v.

  Alcatel-LucentUSA Inc.,No.12-CV-23568,2013W L 358385,at*5 (S.D.Fla.Jan.29.,2013)
  (denying the motion to transfer following a consideration of allthe factors). Given these
  circum stances,little weightshouldbe given tothePlaintiffschoiceoffonzm .

                           9.TrialEfficiency and the InterestsofJustice

         Apple contends that transfer to S.D. Cal. is in the public interest because of local

  connections and local interest. M ot.to Trans.,at 11. M eanwhile,CISD Fla has little factual



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 connection to the claims againstApple otherthan the sale of accused products in the district.''

 L4,at 12. W i-LAN contends thatttjludicialeconomy willbe best served by denying the
 M otion''because two similar actions are also pending in this district,which ççinvolve the snme

 patentsand substantially similarissuesofinfringementand invalidity,and m ay be consolidated

 with this action.'' M ot.in Opp.,at9. Apple points outin response thatmotions to transferto

 S.D.Cal.havebeen filed in both ofthesecasesaswell. Reply,at5.ççBecause these casesare in

 theirearlieststagesand m ay alsobe transferred From SD Flato SD Cal,itwould beprematureto

 assumethatthecasesshouldbekeptinSD Flaandconsolidated.'' J#= Becausethesecaseshave
 thepossibility ofbeing consolidated in eitherdistrict,thisfactorisneutral.
                                               **+


        ln conclusion,decidingwhethertotransferacaseinvolvesmorethanjusttallyingfactors.
 ThisCourt,however,findsthatthetotality ofcircum stancesm ake transferthe mostappropriate

 determ ination. W hile it is notperfectly clearthat San Diego is the perfectforum to hostthis

 litigation in California,itisabundantly clearthata Califom ia forum isfarm ore optim althan a

 Florida forum . See Coast-to-coast StoressInc.v.W om ack-Bowers.lnc.,594 F.supp.at734

  (considering theadvantagesofthe transfereeregion asawhole). ln addition,in tilisinsfnnce,
  little weight should be given to the Plaintifps choice of forum . A transfer to the Southern

  District of California would be more convenient for the parties and witnesses and is in the

  interestsofjustice.See28U.S.C.j 1404(a).
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 111.   Conclusion

        Basedon theforegoing,itis
        ORDERED AND ADJUDGED that Defendant's Renewed M otion to Transfer Venue

 (ECF No.39)isGRANTED. TheClerk ofCourtisdirected to TRANSFER thisaction to the
 United StatesDistrictCourtforthe Southern DistrictofCalifom ia. Itisfurther

        ORDERED AND ADJUDGED thatthe Clerk of Courtisdirected to CLOSE thiscase.

 A11pending motionsareDENIED AS M OOT.

        DONEAND ORDERED inChambersatMiami,Florida,thisz dayofApril,2013.



                                                    K .M ICH AEL M O ORE
                                                    UNITED STATES DISTRICT JUDGE

  cc:Allcotmselofrecord




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